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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                     :      Chapter 11
                                                            :
 DYNEGY HOLDINGS, LLC, et al., 1                            :      Case No. 11-38111 (CGM)
                                                            :
                                                            :      Jointly Administered
                          Debtors.                          :      Ref Doc. No. 1164
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            ORDER PURSUANT TO 11 U.S.C. § 1121(d) EXTENDING THE
        EXCLUSIVE PERIODS WITHIN WHICH THE OPERATING DEBTORS
      MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

                  Upon the Operating Debtors’ Motion Pursuant to Section 1121(d) of the

 Bankruptcy Code to Extend the Exclusive Periods for the Filing of a Chapter 11 Plan and

 Solicitation of Acceptance Thereof (the “Motion”), 2 filed on November 13, 2012; and upon the

 consideration of all other pleadings related thereto; and the Court finding that (a) the Court has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

 Order of Reference M-431 signed by Chief Judge Preska dated January 31, 2012, (b) this matter

 is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), (c) venue is proper in this

 Court pursuant to 28 U.S.C. §§ 1408 and 1409 and (d) notice of the Motion was due and proper

 before this Court under the circumstances; and it appearing that no other or further notice need

 be provided; and the Court previously having entered an order further extending the Exclusive


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  The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are Dynegy
 Holdings, LLC (8415); Dynegy Northeast Generation, Inc. (6760); Hudson Power, L.L.C. (NONE); Dynegy
 Danskammer, L.L.C. (9301); and Dynegy Roseton, L.L.C. (9299). The location of the Debtors’ corporate
 headquarters and the service address for Dynegy Holdings, LLC, Dynegy Northeast Generation, Inc. and Hudson
 Power, L.L.C. is 601 Travis Street, Suite 1400, Houston, Texas 77002. The location of the service address for
 Dynegy Roseton, L.L.C. is 992 River Road, Newburgh, New York 12550. The location of the service address for
 Dynegy Danskammer, L.L.C. is 994 River Road, Newburgh, New York 12550.
 2
  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
 Motion.
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 Filing Period for the Operating Debtors (and DH) through and including July 16, 2012, and the

 Exclusive Solicitation Period for the Operating Debtors (and DH) through and including

 September 14, 2012 (the “First Extension Order”) [Docket No. 789]; and the Court previously

 having entered an ex parte bridge order further extending the Exclusive Filing Period for the

 Operating Debtors through and including such time as this Court issued a final determination on

 the Operating Debtors’ Motion Pursuant to Section 1121(d) of the Bankruptcy Code to Extend

 the Exclusive Periods for the Filing of a Chapter 11 Plan and Solicitation of Acceptance Thereof

 filed on July 16, 2012 (the “First Operating Debtor Bridge Order”) [Docket No. 867]; and the

 Court previously having entered an order further extending the Exclusive Filing Period for the

 Operating Debtors through and including November 13, 2012, and the Exclusive Solicitation

 Period for the Operating Debtors through and including December 31, 2012 (the “Second

 Extension Order”) [Docket No. 912]; and the Court previously having entered an ex parte bridge

 order further extending the Exclusive Filing Period for the Operating Debtors through and

 including such time as this Court issues a final determination on the Motion (the “Second

 Operating Debtor Bridge Order”) [Docket No. 1148]; and it appearing that the legal and factual

 bases set forth in the Motion establish just cause for the relief granted herein; and it appearing

 that the relief requested in the Motion is in the best interests of the Operating Debtors’ estates,

 their creditors, and other parties in interest; and after due deliberation and good and sufficient

 cause appearing therefore, it is hereby:


                ORDERED, that the Motion is granted; and it is further

                ORDERED, that the Exclusive Filing Period is hereby extended through and

 including January 13, 2013; and it is further




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                ORDERED, that the Exclusive Solicitation Period is hereby extended through and

 including February 13, 2013; and it is further

                ORDERED, that this Order is without prejudice to the Operating Debtors’ ability

 to seek further extensions of the Exclusive Periods; and it is further

                ORDERED, that the terms and conditions of this Order shall be immediately

 effective and enforceable upon its entry; and it is further

                ORDERED, that all time periods set forth in this Order shall be calculated in

 accordance with Bankruptcy Rule 9006(a); and it is further

                ORDERED, that the Operating Debtors are authorized to take all actions

 necessary to effectuate the relief granted pursuant to this Order; and it is further

                ORDERED, that the Court shall retain jurisdiction with respect to all matters

 arising from or related to the implementation of this Order.


 Dated: Poughkeepsie, New York
        December 6, 2012

                                            /s/ Cecelia G. Morris
                                            THE HONORABLE CECELIA G. MORRIS
                                            CHIEF UNITED STATES BANKRUPTCY JUDGE




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